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 7                               UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    CALIFORNIA SPORTFISHING                  Case No. 2:21-cv-00073-JDP
      PROTECTION ALLIANCE,
11
                    Plaintiff,
12
           v.
13
      PACIFIC BELL TELEPHONE
14    COMPANY,
15                  Defendants.
16
      PACIFIC BELL TELEPHONE                   Case No. 2:23-cv-03052-KJM-JDP (PS)
17    COMPANY,
18                  Petitioner,
19         v.
20    SETH JONES,
21                  Respondent.
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     Case 2:24-mc-00096-KJM-JDP Document 15 Filed 06/21/24 Page 2 of 3


 1    PACIFIC BELL TELEPHONE                             Case No. 2:24-cv-00022-KJM-JDP
      COMPANY,
 2
                         Movant,
 3
              v.
 4
      MARINE TAXONOMIC SERVICES,
 5    LTD.,
 6                       Respondent.
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 8    CALIFORNIA SPORTFISHING                            Case No. 2:24-mc-00004-DAD-DB
      PROTECTION ALLIANCE,
 9
                         Plaintiff,
10
              v.
11
      PACIFIC BELL TELEPHONE
12    COMPANY,

13                       Defendant.

14
      CALIFORNIA SPORTFISHING                            Case No. 2:24-mc-00096-DAD-JDP
15    PROTECTION ALLIANCE,
16                       Plaintiff,
17            v.
18    PACIFIC BELL TELEPHONE
      COMPANY,
19
                         Defendant.
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21          Examination of the above-entitled actions reveals they are related within the meaning of
22   E.D. Cal. Local Rule 123. The actions arise out of the same transaction or series of transactions
23   and would therefore entail a substantial duplication of labor if heard by different judges.
24   Accordingly, the assignment of the matters to the same judge is likely to effect a substantial
25   savings of judicial effort and is also likely to be convenient for the parties. Under the regular
26   practice of this court, related cases are generally assigned to the judge to whom the first filed
27   action was assigned. Given that the first action is assigned to Magistrate Judge Jeremy D.
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                                                        2
     Case 2:24-mc-00096-KJM-JDP Document 15 Filed 06/21/24 Page 3 of 3


 1   Peterson, and that all parties to 2:24-mc-00004-DAD-DB and 2:24-mc-00096-DAD-JDP have not
 2   consented to the jurisdiction of a United States Magistrate Judge, the latter cases will be
 3   reassigned to the undersigned and Magistrate Judge Peterson for all further proceedings.
 4          Accordingly, IT IS THEREFORE ORDERED that the actions denominated
 5   2:24-mc- 00004-DAD-DB and 2:24-mc-00096-DAD-JDP are reassigned to Chief Judge
 6   Kimberly J. Mueller and Magistrate Judge Jeremy D. Peterson for all further proceedings. The
 7   caption on all documents filed in the reassigned cases shall be shown as 2:24-mc-00004-KJM-
 8   JDP and 2:24-mc-00096-KJM-JDP.
 9          IT IS FURTHER ORDERED that the Clerk of the Court make appropriate adjustments in
10   case assignments to compensate for these reassignments.
11          IT IS SO ORDERED.
12   DATED: June 20, 2024.
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